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 8
   Attorneys for Creditor and Plaintiff ADI VENDRIGER, Co-Trustee
 9 and beneficiary of The First Amendment Trust Wendriger
   Family Dated May 7, 1990
10
                            UNITED STATES BANKRUPTCY COURT
11

12                             CENTRAL DISTRICT OF CALIFORNIA

13                                   LOS ANGELES DIVISION

14 In re:                                         )   Case No.: 2:23-bk-10990-SK
                                                  )
15                                                )
     LESLIE KLEIN,                                    Chapter 11
                                                  )
16                                                )
                                                  )   Adv. Case No.: 2:23−ap−01151−SK
17               Debtor.                          )
                                                  )   DECLARATION OF BRETT J.
18                                                )   WASSERMAN IN SUPPORT OF
                                                  )
                                                      REQUEST FOR CLERK TO ENTER
19 ADI VENDRIGER, Co-Trustee and                  )
   beneficiary of the First Amendment Trust       )   DEFAULT UNDER LBR 7055-1(a)
20 Wendriger Family Dated May 7, 1990,            )
                                                  )   [Filed concurrently with Request for clerk to
21                                                )
                 Plaintiff,                       )   Enter Default Under LBR 7055-1(a)]
                                                  )
22                                                )   Date: No Hearing Required
            v.                                    )   Crtrm: 1575
23                                                )   Judge: Hon. Sandra R. Klein
                                                  )
24 LESLIE KLEIN and DOES 1 through 10,            )
                                                  )
25               Defendants.                      )
                                                  )
26                                                )

27   ///

                                                  1
                      DECLARATION OF BRETT J. WASSERMAN IN SUPPORT OF REQUEST FOR
                               CLERK TO ENTER DEFAULT UNDER LBR 7055-1(a)
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 1                      DECLARATION OF BRETT J. WASSERMAN, ESQ.
           RE: REQUEST FOR CLERK TO ENTER DEFAULT UNDER LBR 7055-1(a)
 2         I, Brett J. Wasserman, Esq., declare as follows:
 3          1.      I am an attorney licensed to practice law in the State of California. I am an
 4 attorney at Shumaker Mallory, LLP. I am an attorney of record for Plaintiff Adi Vendriger, as

 5 Co-Trustee and beneficiary of the First Amendment Trust Wendriger Family Dated May 7, 1990

 6 (“Plaintiff”) in this action. I submit this declaration in support of Plaintiff’s Request for Clerk to

 7 Enter Default Under LBR 7055-1(a).

 8          2.      Except where stated upon information and belief, the statements herein are based

 9 upon my personal knowledge, my review of the records within my office, and my review of the

10 documents filed with this Court. If called as a witness, I would and could competently testify

11 thereto.

12          3.      On May 11, 2023, Plaintiff filed this instant Complaint for Determination of

13 Nondischargeability of Debts and to Deny Discharge (“Complaint”) against Defendant Leslie

14 Klein (“Defendant”). (Dkt. No. 1).

15          4.      On May 12, 2023, this Court issued a Summons and Notice of Status Conference

16 in Adversary Proceeding [LBR 7004-1]. (Dkt. No. 2).

17          5.      On May 12, 2023, this Court issued an Another Summons and Notice of Status

18 Conference in Adversary Proceeding [LBR 7004-1] (“Summons”) due to a clerical error in the

19 original Summons. (Dkt. No. 3).

20          6.      On May 16, 2023, Defendant was served with the Summons and the Complaint

21 by first-class mail. (Dkt. No. 4).

22          7.      Defendant’s initial deadline to file and serve a written response was on June 12,

23 2023.

24          8.      On June 10, 2023, I agreed to a stipulation with the attorney of record for

25 Defendant to extend the time for Defendant to file and serve his response to Plaintiff’s

26 Complaint, which was memorialized on June 16, 2023. Defendant’s deadline to file and serve
27 the response was extended to July 12, 2023. (Dkt. No. 8).

                                                       2
                     DECLARATION OF BRETT J. WASSERMAN IN SUPPORT OF REQUEST FOR
                              CLERK TO ENTER DEFAULT UNDER LBR 7055-1(a)
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 1          9.     On July 17, 2023, I received an email from the attorney of record for Defendant

 2 indicating that Defendant had “engaged ‘real’ bankruptcy attorney as of this morning…”. On

 3 July 17, 2023, I responded to Defendant’s attorney of record via email and indicated Plaintiff

 4 would be willing to enter into a second stipulation to extend the time for Defendant to file and

 5 serve his response to Plaintiff’s Complaint, provided Defendant’s new attorney made an

 6 appearance and filed an application to be employed by Wednesday, July 19, 2023.

 7          10.    On July 20, 2023, Plaintiff requested the Clerk enter a default against Defendant,

 8 which was entered on July 21, 2023. (Dkt. Nos. 20 and 21).

 9          11.    On August 8, 2023, I agreed to a stipulation with the attorney of record for

10 Defendant to vacate and set aside the default and to extend Defendant’s time period to file and

11 serve his response to Plaintiff’s Complaint. (Dkt. No. 30).

12          12.    On August 14, 2023, Defendant filed a Motion for Order Dismissing Certain

13 Causes of Action in Complaint, which was set for hearing on October 18, 2023. (Dkt. No. 34).

14          13.    On October 18, 2023, the Court granted Defendant’s Motion for Order

15 Dismissing Certain Causes of Action in Complaint and ordered Defendant to file and serve a

16 response to the remaining claims for relief by November 18, 2023. At the same hearing,

17 Defendant’s prior counsel’s Motion to be Relieved as Counsel was granted. Defendant was

18 present at the hearing.

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                    DECLARATION OF BRETT J. WASSERMAN IN SUPPORT OF REQUEST FOR
                             CLERK TO ENTER DEFAULT UNDER LBR 7055-1(a)
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 1         14.     On November 21, 2023, I visited this Court’s docket and discovered that

 2 Defendant, now Pro Se, had not filed and served his response to Plaintiff’s complaint by

 3 November 20, 2023 (November 18, 2023 fell on a Saturday).

 4         I declare under the penalty of perjury under the laws of the United States of America that

 5 the foregoing is true and correct.

 6         Executed this 21st day of November 2023, at Santa Monica, California

 7

 8                                                  SHUMAKER MALLORY, LLP

 9

10
                                                    By:
11                                                        CLARISSE YOUNG SHUMAKER
                                                          BRETT J. WASSERMAN
12                                                        Attorneys for Petitioner
                                                          ADI VENDRIGER, Co-Trustee
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                    DECLARATION OF BRETT J. WASSERMAN IN SUPPORT OF REQUEST FOR
                             CLERK TO ENTER DEFAULT UNDER LBR 7055-1(a)
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1 Ringbit Rd. W., Rolling Hills, CA 90274

                                                                      DECLARATION OF BRETT J. WASSERMAN
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 IN SUPPORT OF REQUEST FOR CLERK TO ENTER DEFAULT UNDER LBR 7055-1(a)
________________________________________________________________________________________________
________________________________________________________________________________________________
 [Filed concurrently with Request for clerk to Enter Defualt Under LBR 7055-1(a)]
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
11/21/2023          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  Clarisse Young Shumaker youngshumaker@smcounsel.com
  Brett Wasserman wasserman@smcounsel.com
  United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              11/21/2023        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Debtor/Defendant: Leslie Klein, 322 N. June Street, Los Angeles, CA 90004-1042 (Pro Se)




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  11/21/2023
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 Hon. Sandra R. Klein, 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/21/2023          Davida J. Goldman
 Date                         Printed Name                                                      Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
